           Case 2:10-cr-00078-MCE Document 45 Filed 08/02/11 Page 1 of 3


1    SCOTT N. CAMERON
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2    1007 7th Street, Suite 319
     Sacramento, California 95814
3    Telephone: (916) 442-5230
4    Attorney for:
     ISRAEL BALLARDO
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6
7                       IN THE UNITED STATES DISTRICT COURT
8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,     )        CASE NO.     2:10-cr-00078 MCE
                                   )
11                   Plaintiff,    )        STIPULATION AND ORDER CONTINUING
                                   )        STATUS CONFERENCE
12        v.                       )
                                   )
13   ISRAEL BALLARDO               )
     aka Ernesto Franco Alvarez,   )        DATE:      August 4, 2011
14        and                      )        TIME:      9:00 a.m.
     FREDDY LOAIZA                 )        COURT:     Hon. Morrison England, Jr.
15                                 )
                     Defendants.   )
16   ______________________________)
17
18                                   Stipulation
19        The parties, through undersigned counsel, stipulate that the
20   status conference, scheduled for August 4, 2011, may be continued to
21   September 29, 2011, at 9:00 a.m.           Counsel for both defendants need
22   the additional time requested in this stipulation to attempt to
23   resolve this case. Counsel for defendant Ballardo has been actively
24   researching an issue that relates to the sentencing guidelines.
25   Counsel   for   defendant   Ballardo   intends     to   summarize   this   legal
26   research for the government in an attempt to resolve the case.             As a
27   result, the defense needs additional time before a meaningful status
28   conference can be held.

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           Case 2:10-cr-00078-MCE Document 45 Filed 08/02/11 Page 2 of 3


1         Further, all of the parties, agree and stipulate that the ends of
2    justice   served   by   granting   this      continuance   outweigh   the   best
3    interests of the public and the defendants in a speedy trial.                 As
4    such, the parties agree that time may be excluded from the speedy
5    trial calculation under the Speedy Trial Act for counsel preparation,
6    pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4.
7         The parties have authorized the defense counsel for Israel
8    Ballardo to sign this stipulation on their behalf.
9
10   DATED: July 28, 2011                        BENJAMIN WAGNER
                                                 United States Attorney
11
12                                      by       /s/ Scott N. Cameron, for
                                                 Jill Thomas
13                                               Assistant U.S. Attorney
14
     DATED: July 28, 2011
15                                      by       /s/ Scott N. Cameron
                                                 Scott N. Cameron
16                                               Counsel for ISRAEL BALLARDO
17
     DATED: July 28, 2011
18                                      by       /s/ Scott N. Cameron, for
                                                 Dina Santos
19                                               Counsel for FREDDY LOAIZA
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           Case 2:10-cr-00078-MCE Document 45 Filed 08/02/11 Page 3 of 3


1                                       Order
2         Good cause appearing, the status conference, scheduled for August
3    4, 2011, is continued to September 29, 2011, at 9:00 a.m.             The Court
4    finds that the ends of justice served by granting this continuance
5    outweigh the best interests of the public and the defendants in a
6    speedy trial in this case.      Time is excluded from the speedy trial
7    calculation pursuant to 18 U.S.C. § 3161(h)(7)(A) and(B)(iv) and Local
8    Code T4 for counsel preparation.
9         IT IS SO ORDERED.
10
     Dated: August 2, 2011
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12                                      _____________________________
13                                      MORRISON C. ENGLAND, JR.
                                        UNITED STATES DISTRICT JUDGE
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